                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

NASH HOSPITALS, INC.,                                  )
                                                       )
     Plaintiff(s),                                     )
v.                                                     )
UNITED HEALTHCARE OF NORTH                             )        Case No. 5:25-cv-00038-FL
CAROLINA, INC.; UNITED                                 )
HEALTHCARE INSURANCE COMPANY                           )
OF THE RIVER VALLEY; and UNITED                        )
HEALTHCARE INSURANCE COMPANY,                          )
                                                       )
       Defendant(s).                                   )
                                                       )

  DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
 DIRECT FINANCIAL INTEREST IN LITIGATION AND ATTRIBUTED CITIZENSHIP

 Pursuant to Fed. R. Civ. P. 7.1 and Local Civil Rule 7.3, or Fed. R. Crim. P. 12.4 and Local
 Criminal Rule 12.3,


 United Healthcare of North Carolina, Inc., who is the Defendant,
 (name of party/intervenor)                   (plaintiff/defendant/other:      )

 makes the following disclosure:

 1. Is the party/intervenor a publicly held corporation or other publicly held entity?

      YES                              NO ☒

 2.   Does the party/intervenor have any parent corporations?

      YES ☒                            NO

 If yes, identify all parent corporations, including grandparent and great-grandparent corporations:

UnitedHealth Group Incorporated.


 3. Is 10% of more of the stock of the party/intervenor owned by a publicly held corporation or
    other publicly held entity?

      YES                              NO ☒


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 If yes, identify all such owners:


 Is there any other publicly held corporation or other publicly held entity that has a direct
 financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal 12.3)?

     YES                                NO ☒

 4. Is the party/intervenor a trade association?

     YES                                NO ☒

 If yes, identify all members of the association, their parent corporations, and any publicly held
 companies that own 10% or more of a member’s stock:


 5. If the case arises out of a bankruptcy proceeding, identify any trustee and the members of any
    creditor’s committee:

    Not applicable.


 6. In a case based on diversity jurisdiction, the following is a list of every individual or entity
    whose citizenship is attributed to the party/intervenor:

    Not applicable.

     (Name of individual/entity)                               (State of citizenship)


     (Name of individual/entity)                               (State of citizenship)


     (Name of individual/entity)                               (State of citizenship)


     (Name of individual/entity)                               (State of citizenship)


     (Name of individual/entity)                               (State of citizenship)

     If there are additional individuals or entities who citizenship is attributed to the
     party/intervenor, please provide their names and states of citizenship on a separate piece of
     paper.

     Signatures on following page.


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                                  Signature: /s/ Nicholas Allen Young

                                  Date: January 27, 2025

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                                  CERTIFICATE OF SERVICE
       I certify that on the 27th day of January, 2025, I caused a copy of the foregoing

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DIRECT FINANCIAL INTEREST IN LITIGATION AND ATTRIBUTED CITIZENSHIP

to be served via U.S. Mail, first class postage affixed, and via e-mail on Plaintiff’s counsel of

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